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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JERMAINE RAINES,                       )
                                       )
     Plaintiff,                        )
                                       )            CIVIL ACTION NO.
     v.                                )              2:19cv680-MHT
                                       )                   (WO)
ELL WHITE, et al.,                     )
                                       )
     Defendants.                       )

                                 OPINION

    Pursuant to 42 U.S.C. § 1983, plaintiff, a state

prisoner,      filed     this    lawsuit       complaining       that    the

defendants     subjected        him    to    excessive     force.       This

lawsuit is now before the court on the recommendation

of the United States Magistrate Judge that plaintiff’s

case be dismissed.              There are no objections to the

recommendation.          After        an    independent    and    de    novo

review    of   the     record,    the       court    concludes   that    the

magistrate judge’s recommendation should be adopted.

    An appropriate judgment will be entered.

    DONE, this the 28th day of September, 2020.

                                         /s/ Myron H. Thompson
                                      UNITED STATES DISTRICT JUDGE
